
MILLER, Judge.
Defendant United States Fidelity &amp; Guaranty Company appeals the judgment allowing plaintiffs Donald and Iris Kon-rady to “stack” uninsured motorist coverage provided under one policy covering the automobile in which they were guest passengers. We reverse.
This case was consolidated for trial and appeal purposes with Barbin v. USF &amp; G, 302 So.2d 631 (La.App. 3 Cir. 1974). We have this date handed down our opinion deciding that case.
For the reasons assigned in that opinion, the trial court judgment is reversed and set aside. It is ordered, adjudged and decreed that defendant United States Fidelity &amp; Guaranty Company have judgment dismissing plaintiffs’ suit. Costs at trial and on appeal are taxed to plaintiffs.
Reversed and rendered.
WATSON, J., concurs for reasons assigned in No. 4688.
FRUGÉ, J., dissents and assigns written reasons and voted to grant a rehearing.
